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             EXHIBIT 4
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 5

 6                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

 7                           IN AND FOR THE COUNTY OF ALAMEDA

 8
     IN RE ROUNDUP PRODUCTS CASES                        No. JCCP 4953
 9
                                                         Pilliod v. Monsanto, RG17-862702
10

11
                                                         [TENTATIVE] ORDER (1) DENYING
                                                         MOTION OF PLAINTIFFS FOR
12                                                       CONSOLIDATION OF CASE FOR TRIAL
                                                         AND (2) ON CASE MANAGEMENT
13
                                                         DATE 1/25/19
14                                                       TIME 10:00 AM
                                                         DEPT 21
15

16

17
            The motion of plaintiffs for court setting bellwether selection process came on for hearing
18

     on Friday 1/25/19, in Department 21 of this Court, the Honorable Winifred Y. Smith presiding.
19

20   Having reviewed the papers and having heard the arguments of counsel, and good cause

21   appearing, IT IS HEREBY ORDERED: The motion of plaintiffs for court setting bellwether

22   selection process is DENIED WITHOUT PREJUDICE.
23
     ///
24
     ///
25

26




                                                     1
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 1   MOTION OF PLAINTIFFS FOR COURT SETTING BELLWETHER SELECTION PROCESS

 2           The motion of plaintiffs for court setting bellwether selection process is DENIED
 3
     WITHOUT PREJUDICE.
 4
             Plaintiffs seek an order that the bellwether trials will each be a multi-plaintiff trial with up
 5
     to 10 plaintiffs in each trial. The motion is therefore a motion for consolidation under CCP
 6
     1048(a).
 7

 8
             CCP 1048(a) states: “When actions involving a common question of law or fact are

 9   pending before the court, it may order a joint hearing or trial of any or all of the matters in issue

10   in the actions; it may order all the actions consolidated and it may make such orders concerning
11
     proceedings therein as may tend to avoid unnecessary cost or delay.” In considering a motion to
12
     consolidate under CCP 1048(a), the court evaluates whether the cases have common issues and
13
     whether undue confusion or prejudice will likely to result from the proposed consolidation.
14
     (Todd-Stenberg v. Dalkon Shield Claimants Trust (1996) 48 Cal.App.4th 976, 979.)
15

             All the cases included in the JCCP cases share common issues of fact or law. As a matter
16

17   of law, however, the “common questions of fact or law” required for creation of a JCCP and

18   inclusion in a JCCP for pre-trial case management purposes (CCP 404, CRC 3.541) is a different

19   standard than the “common question of law or fact” required for consolidation for trial (CCP
20
     1048(a)). Although the words are the same, coordination for pre-trial case management purposes
21
     is distinctly different from consolidation for trial.
22
             The court cannot determine on the present record whether the claims of unidentified
23
     plaintiffs have common issues. The court also cannot determine whether the consolidation of the
24

25   claims of various plaintiffs for trial might have case management and judicial efficiency benefits

26   or whether undue confusion or prejudice would likely to result from consolidation. The court has


                                                         2
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 1   not yet identified which plaintiffs will be in the bellwether trials, set a schedule for the bellwether

 2   trials, or determined where the bellwether cases will be set for trial. (CRC 3.543.)
 3
            The court is likely to follow the court’s currently planned procedure in the Essure Cases,
 4
     JCCP 4887, of (1) identifying bellwether plaintiffs; (3) setting dates for bellwether trials without
 5
     identifying specific plaintiffs; (3) working up all the bellwether cases for trial; and only then (4)
 6
     determining which plaintiffs will go to trial in which jurisdiction. Only at or after the final step
 7

 8
     can the court evaluate the issue of consolidation for trial, and that might be a decision made by a

 9   judge in a different county after a case or a few cases are remanded or transferred for trial. (CRC

10   3.542 and 3.543.)
11
            When the time comes, the court will exercise its discretion in determining whether to
12
     consolidate cases for trial by looking at variables such as common issues of law and fact, the
13
     possibility of undue confusion or prejudice, and considerations of judicial efficiency. Although
14
     the Roundup JCCP and the Essure JCCP share certain case management similarities, each JCCP
15

     has its own case management, legal, and factual issues. An order in one JCCP has effect only in
16

17   that JCCP. Similarly, decisions made by other trial courts in the exercise of their discretion are

18   useful guideposts, but do not compel the court to reach the same conclusions. (In re Large

19   (2007) 41 Cal.4th 538, 553; Rush v. White (2017) 13 CalApp.5th 1086, 1098-1099; Miyamoto v.
20
     Department of Motor Vehicles (2009) 176 Cal.App.4th 1210, 1222-1224 [concurring].)
21

22
     CASE MANAGEMENT ORDERS
23
            The court ORDERS as follows:
24

25      1. The court ORDERS that each plaintiff must file their own individual complaint except

26          where the facts of the plaintiffs are closely intertwined, as with Alva Pilliod and Alberta


                                                        3
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 1      Pilliod in Pilliod v. Monsanto, RG17-862702. (Billings v. Monsanto, RG17-852375,

 2      order of 7/14/17; Woodbury v. Monsanto, RG17-855094, order of 7/26/17.)
 3
     2. The court ORDERS that for complaints with more than one plaintiff, that the complaint
 4
        will remain operative for the first named plaintiff, that all other plaintiffs will be
 5
        dismissed, that the other plaintiffs may file their own individual complaints, and that new
 6
        complaints filed pursuant to this order will relate back to the filing of the initial
 7

 8
        complaint. This is consistent with the stipulated order of 8/4/17 in Pilliod v. Monsanto,

 9      RG17-862702.

10   3. The court ORDERS that counsel for plaintiffs prepare a proposed master complaint and a
11
        proposed short form complaint. The short form complaint will incorporate the allegations
12
        in the master complaint and set forth the essential facts for each plaintiff. The short form
13
        complaint can be fairly cursory given that each plaintiff will be required to provide a
14
        Plaintiff’s Fact Sheet. (CMO 11 filed 8/28/18.) After the filing of the proposed master
15

        complaint, then any plaintiffs filing new complaints are to file the short form complaint.
16

17   4. It is unclear to the court what cases are included in the JCCP and the names of the

18      plaintiffs in each case. The court ORDERS that the parties collectively prepare and

19      maintain a joint spreadsheet of all the cases individual plaintiffs in the JCCP and for each
20
        plaintiff: (1) the plaintiff’s name, (2) the case name, (3) case jurisdiction and case
21
        number, (4) the date of case filing; and (5) whether the case is pending, set for trial, or
22
        dismissed. The parties may include additional information in the joint spreadsheet, as it
23
        will be an asset for common use. The court anticipates that a spreadsheet will be useful in
24

25      keeping track of the cases.

26




                                                   4
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 1   5. The court ORDERS that each CMC statement include as an appendix the spreadsheet

 2      identified above, or a summary of critical information. The court anticipates that a
 3
        spreadsheet will be useful in identifying which cases are oldest and should be set for trial
 4
        first, for alerting other courts that they might have cases sent to them for trial, and for
 5
        other matters.
 6
     6. Roundup cases can be added to the JCCP using the add-on procedure. (CRC 3.544.)
 7

 8
     7. Roundup cases that are added to the JCCP will be stayed in their home jurisdictions.

 9      (CRC 3.529(b), 3.544(d).)

10   8. Roundup cases that are added to the JCCP do not need to be transferred from their home
11
        jurisdictions. (CRC 3.543.) The court will not enter transfer orders in the future absent a
12
        showing of good cause.
13
     9. The court understands that certain cases have been transferred to Alameda County. The
14
        court will process those transfers and create Alameda case files, but then the plaintiffs
15

        will need to enter dismissals as stated above so that each plaintiff has his or her own case.
16

17   10. The coordination trial judge in the JCCP will manage the common issues. (CRC 3.541.)

18   11. The court ORDERS that all motions concerning common issues must be filed in the

19      JCCP. For example, the anticipated Sargon motion that concerns the JCCP should be
20
        filed in JCCP 4953.
21
     12. After a case has been added to the JCCP, then all filings must be made in the JCCP case.
22
     13. When cases are ready for trial, the coordination trial judge in the JCCP can remand the
23
        case out of the JCCP for trial in the home jurisdiction (CRC 3.542) or transfer the case to
24

25      another jurisdiction for trial (CRC 3.543). That way the specific record at trial will then

26      be developed in a separate case file.


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 1      14. The case of Pilliod v. Monsanto, RG17-862702, is sufficiently close to trial that motions

 2          related to that case should be filed in RG17-862702. For example, the Sargon motion
 3
            concerning Pilliod specifically should be filed in the RG17-862702.
 4
        15. The court encourages the parties to review the schedule in the JCCP and in Pilliod for the
 5
            next 6-12 months and to propose general case schedules. The court will be interested in
 6
            setting a date each month in the JCCP for regular CMCs and for hearing any motions in
 7

 8
            the JCCP.

 9      16. The court informs counsel that in addition to being coordination trial judge in In re

10          Roundup Cases, JCCP 4953, the court has also been appointed coordination trial judge in
11
            In re Essure Cases, JCCP 4887. Each case has its own case management, legal, and
12
            factual issues and an order in one JCCP has effect only in that JCCP. That said, the court
13
            encourages counsel in this JCCP to review the court’s orders in the other JCCP because
14
            they might provide guidance on the court’s thinking and help avoid or narrow contested
15

            motion practice. For example, counsel may refer to Essure CMO 13 filed 12/21/18
16

17          regarding case schedule.

18

19   Dated: January __, 2019
                                                                 Winifred Y. Smith
20
                                                                 Judge of the Superior Court
21

22

23

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